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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No. SACV 16-0686-AG(DFMx)                                              Date     June 26, 2017
 Title          BRUCE CAHILL, ET AL v PAUL PEJMAN EDALAT, ET AL


 Present: The Honorable        ANDREW J. GUILFORD, U.S. District Judge
                     Lisa Bredahl                                         Miriam Baird
                     Deputy Clerk                                        Court Reporter

            Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:
                    John Markham                                         Kristopher Diulio

 Proceedings: 1. PRETRIAL CONFERENCE (7 DAY JURY TRIAL 7/25/17)
     2. DEFENDANTS’ MOTION IN LIMINE TO EXCLUDE MODELING PHOTOGRAPHS
OF OLIVIA KARPINSKI [DKT 249]
     3. DEFENDANTS’ MOTION IN LIMINE NO. 2 TO PRECLUDE REFERENCE TO
CONFIDENTIAL SETTLEMENT OF CIVIL HARASSMENT CLAIM [DKT 251]
     4. DEFENDANTS’ MOTION IN LIMINE NO. 3 TO PRECLUDE USE OF TERMS “RICO”,
“RACKETEERING”, ETC IN OPENING STATEMENT [DKT 252]
     5. DEFENDANTS’ EX PARTE APPLICATION TO ALLOW TAKING OF THREE
DEPOSITIONS, ON BOTH SIDES, AFTER DISCOVER (sic) CUT-OFF PURSUANT TO
PRIOR WRITTEN AGREEMENT OF THE PARTIES [DKT 261]

Cause is called for hearing and counsel make their appearances. Court and counsel confer re trial.
The Court sets this matter for a five day timed trial. Trial date remains July 25, 2017 at 9:00 a.m.
Final Pretrial Conference Order signed and filed.

Motions in limine are argued. Defendants’ motion in limine #1 and #2 are GRANTED.
Defendants’ motion in limine #3 is DENIED.

Defendants’ ex parte application is DENIED.




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                                                           Initials of          lmb
                                                           Preparer



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